Case 1:96-cr-00227-CMH Document 127 Filed 05/30/08 Page 1 of 12 PageID# 1




                                  UNITED     STATES   DISTRICT      COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA



UNITED   STATES     OF AMERICA,                             Dist.    Ct.    No.l:96-MJ-00223
                                                            App.    Ho.:96-4920
                       Respondent,                          Civ. No.:70-231(ERIE)

                                                            MOTION PURSUANT TO TITLE 28 §3582
              vs.                                            (c)(2)   REQUESTING TWO BASE OFFENSE
                                                            LEVEL REDUCTION BASED OH TH E SENTENCING
                                                            COMMISSION'S RETROACTIVE CRACK COCAINE
KURT    SHAWN HANIEPH,                                      AMENDMENT        (706)


                       Petitioner.




        NOW COMES the          Petitioner,      KURT SHAWN HANIEPH          (hereinafter "Mr.       Hanieph"),


respectfully moves         this Honorable Court,            Eastern District of Virginia,                for


an ORDER granting         two    level or more      from     the base      offense level guidelines


sentence    imposed       on November      15,    1996.    Additionally,       Mr.   Hanieph makes       the


argument,    hereinafter,          that   the    Honorable Court       should       further    reduced   the


base offense level in light of               the United States         Supreme Court's decisions in

Kimbrough and Gall because this Court will be                        imposing        a "new"    sentence and

will have    to consider factors           that were unavailable at the time Mr.                   Hanieph's


original sentnece was            imposed under      the mandatory          Sentencing Guidelines         as    in


contrast to the now "advisory"                  guidelines based on U.S.S.G.             §    3553's subsect

ions.    WHEREFORE,      Mr.    Hanieph respectfully         prays    that    the    Honorable    Court will


grant    the Motion      in its    enterity      in accorance with the          Sentencing Guidelines


Commission's      (the    "Commission")         recent retroactive crack guideline amendment.
Case 1:96-cr-00227-CMH Document 127 Filed 05/30/08 Page 2 of 12 PageID# 2


                           PROCEDURAL HISTORY OF THE CASE



     On or about March 29th,      1996, a Criminal Complaint was filed     against Mr.

Hanieph charging him with Distributin of "Crack" Cocaine, a Schulde II under

Title 21 Sections 841(a)(l) and Conspiracy.       See 21   §§ 841 and 846. On   or


about June 4th,    1996, a federal grand jury returned a seven (7) count indict

ment against Mr. Hanieph and several co-defendants in the above counts.          See

Docket (Dkt") Entry at p.2. The grand jury preliminarily found that Mr.

Hanieph conspired to distribute 50 grams or more of         cocaine base in violation

of 21 U.S.C.    § 841(a)(l).-


     On or about August 15th,      1996,   the jury returned a guilty verdict on

counts one,    four, and five of the submitted indictment.     However, on or    about

November 15thm 1996,      this Honorable Court held a sentencing hearing to

determinate the sentence under the Sentencing Guidelines range.          Nevertheless,

the Court     found, pursuant to the Guidelines and PreSentence Report      ("PSR"),

the proper sentencing      range was 360-month to life. The Court then imposed

a term of 360 months imprisonment with three months credit          for time served in

Fairgax County jail pursuant to the current conviction's charges.         See Dkt.Entry

at 64. The Court adopted all of the PSR's findings.

     The PSR recommended a base offense level of 34 pursuant to the United

States Sentencing Guidelines § 2D1.l(a)(3)(c)(3)       based on 150 grams of cocaine




1 Because Mr. Hanieph*s base offense (38) was greater than the career offender
Guideline level, which the PSR found was applicable, the PSR reasoned that the
career offender would "not be applicable" due to the higher offense level (38),
See PSR at p.16,   K57.




                                           -2-
Case 1:96-cr-00227-CMH Document 127 Filed 05/30/08 Page 3 of 12 PageID# 3



base ("Crack") pertaining to the conspiracy distribution counts. For the Role

in the Offense Adjustment, four more levels were added to the base offense level

resulting in a final         and total base offense level of 38.-   Furthermore, the

PSR recommended additional sentencing options pursuant to the statutory

provisions that were lesser than the guidelines'       and career criminal's mini-


mums, which this Court did not adopt at sentencing.        Thus, count of the jury's

guilty verdict calls for a minimum of twenty (20) years to life imprisonment,

$8,000,000 fine, at least two years supervised release. Count four (4) and

five (5) calls for a minimum of ten (10) years to life imprisonment, $4,000,-

000,   at least 8 years supervised release.—




             MODIFICATION OF AN IMPOSED TERM OF IMPRISONMENT PURSUANT TO
                             18 U.S.C. SECTION 3582(c)(2)




       Section 3582(c)(2) states in pristine part that courts may not modify

a term of imprisonment once it has been imposed except that—

       (1)    in any case—




2 Because Mr. Hanieph's base offense level (38) was greater than the car
eer offender Guidelines level (37), which was applicable, the PSR deemed
that the career offender status would not be applicable due to the higher
drugs guidelines*s level (34 plus 4 level) pursuant USSG § 2D1.1. See PSR
at p.16,      U57




3 This Court used the Guidelines Offense Level (34) in USSG § 2Dl.l(a)(3)
plus four additional level pursuant to USSG § 3Bl.l(a); Role in the Adjust
ment, resulting into a total level (38) with a criminal history category of
VI. A sentencing guidelines range of 360 to life. Mr. Hanieph was then sent
enced to 360 months imprisonment by this Court.




                                           -3-
Case 1:96-cr-00227-CMH Document 127 Filed 05/30/08 Page 4 of 12 PageID# 4



             (A)   the court,    upon motion of the Director of                the Bureau of
            Prisons,     may reduce   the    term of      imprisonment,       after consid
            ering the factors set forth in Section 3582(a)                         to the extent
            that they are applicable.


See   18 USC § 3582(c)(l).       (Underlines Mines.) However,                Subsection two in 18


USC § 3582 states as follows:


             In the case of       a defendant who has been sentenced                   to a term
            of imprisonment based on a sentencing range                      that has subsequ
            ently been lowered by       the Sentencing Commission pursuant to
            28 USC 994(6),  upon motion of the defendant or the Director
            of the Bureau of Prisons, or on its own motion, the court may
            reduce the term of imprisonment,               after considering the factors
             set forth in Section      (a).


See 18 USC 3582(c)(2);       see also USSG § 1B1.10(a)(b), and                     (c) .-    Thus, Mr.

Hanieph's guidelines sentence range satisfies the prerequisites set forth

in 18 USC    § 3582 and USSG §      lB1.10(a)(b),         and   (c)   because his "Guidelines


range has been "lowered" by two level and more pursuant to the Commission's

retroactive crack Amendment         (706).



                                      LEGAL ARGUMENT



       Because Mr. Hanieph's base offense level (34) resulted into a sentenc

ing range    (262-327)    plus   four additional level enhancement levels, which


eventually resulted into a sentencing range of                   360-to-life,         this    Court


is now authorized to reduce Mr. Hanieph's sentence                         minus two offense levels

pursuant     to th e Commission's March 3rd,              2008, retroactive crack Amendment

(706).    See Amendment    706; see also      (Exhibit      ("Exh.") p.l, Worksheet A


[Offense Level])); United States v. Boe,               117 F.3d 830          (1997, CA5 La)(Remanded

where court denied...defendant's motion to reduce 80-month sentence to

statutory minimum of       60 months pursuant        to    18 USCS     §    3582    in light of       amend


ment to § 2D1.1.");



4     Section 4Bl.l(b)    states:   "A career offensder's criminal history category
in every case under this subsection shall be category VI.                           See USSG § 4B1.1'
(b); see also       (FSR at p.16; 157).        A career criminal's base offense level
however starts at level 34*         or is always 34.


                                               -4-
 Case 1:96-cr-00227-CMH Document 127 Filed 05/30/08 Page 5 of 12 PageID# 5

United States v. Aguilar-Ayala,            120 F.3d 176, 97 (1997, CA9 Cal)("District

Court erred in determining that it did not have discretion to reduce defendant's

sentence....since application of amendment              could reduce...87-month sentence               to


statuory mandatory minimum.");           see also Kimbrough v. United States,               169 L.Ed.2d
                                                                             5
481   (2007); Gall v. United States, 169 L.Ed.2d 445               (2007).

       In Kimbrough,       the Supreme     Court reasoned that      18 U.S.C.S.         § 3553(a)(b)

directs district courts to "consider the need to avoid unwarranted disparities—

along with other § 3553         factors— when imposing sentences.                Id.   The Court further


reasoned that district courts must take account of sentencing practices in


other courts and the "cliffs" resulting from the statutory mandatory minimum

sentences.   See Kimbrough v. United States,            167 L.Ed.2d 481          (2007)(Ginsburg,

J.,   Roberts,    Ch.J.,    and Stevens,    Scalia, Kennedy,      Souter,    and Breyer,      JJ.   Con


curring) .

       However,    in delivering the opinion of the Court,            Justice Ginsburg' reasoned


that cocaine Guidelines,         like all"other Guidelines, are "advisory"                  only, and

that the Fourth Circuit erred in holding that crack/powder disparity mandatory.


Id.    A district court must now           include the guidelines range in factors                  warrant


ing consideration.         The judge may determine,      however,...in the particular case,


a within-Guidelines sentence is "greater than necessary" to serve the objectives

of sentencing.      See    18 U.S.C.     § 3553(a)    (2000 ed.   and Supp. V).         In making that

determination,      the Court held that judges may consider the disparity between


the Guidelines'      treatment of crack and powder cocaine offenses. Kimbrough, Id.



5  Section 2D1.1, level 34, calls for "At least 150 but less than 500G of
Cocaine Base." See (Exh. A at p.l, Worksheet A (Offense Level)). The amount
of cocaine base ("Crack") attributed to Mr. Hanieph   was 289.926 grams; an
offense level 34 plus four enhancement level pursuant to § 3Bl.l(a)I



                                                -5-
    Case 1:96-cr-00227-CMH Document 127 Filed 05/30/08 Page 6 of 12 PageID# 6


       Since this district Court will be imposing a "new" sentence pursuant to

Amendment 706,      then the Court will have to take into consideration—at the


"clifff" resulting from the statutory mandatory minimum and/or career offend

er's guidelines range—the disparity between the Guidelines' treatment of

289.926 grams of crack cocaine that originally adopted by the Court from the
                                                                                   6
PSR's Report.       See (Exh. A at p.l); see also (PSR at p.19,           1172).       Thus,   the

will have,       in effect, used and/or applied the Career Offender's Guidelines

or one of the statutory minimums suggested in the PSR prior to sentencing when


reducing Mr.       Hanieph's    sentence in accordance with the Commission's retroactive

crack amendment       (706).   See   (PSR at p.16,   1157);   se£ also USSGA § 4Bl.l(b);             18

USC § 841's penalties, which involve a minimum of twenty                 (20) and ten (10) years
             I
sentences.        See United States v. Boe,     117 F.3d 830 (1997, CA5 La)("Remanded

where court denied.♦.defendant's motion to reduce 80-month sentence to statutory

minimum of 60 months pursuant to 18 USC § 3582 in light of amendment to § 2D1.1.");

United States v. Aguilar-Ayala,           120 F.3d 176,       97 (1997, CA9 Cal)("District

court erred in determining that it did not have discretion to reduce defendant's

sentence...since application of amendment could reduce...87-month sentence to


statutory mandatory minimum.").

        In Boe,    the district court increased his criminal history after considering


and reasoning that 18 U.S.C.           § 3553(b) permits it to depart from the applicable

Guidelines range...existing "an aggravating or mitigating circumstance of kind,


or to degree, not adequately taken into consideration"; his prior criminal



6    Paragraph seventy-two of the PSR issued sentencing options that the Court
"may" have consider under the statutory provisions for Count One and Counts
four and five of the indictment.


T_    The PSR:    "Statutory Provisions; Count 1:        Twenty years    to life imprisonment
^8,000,000 fine, at least 10 years supervised release, $50 special asssessment;
Count 4 and 5: Ten years to life imprisonment,                 $4,000,000 fine, at least 8 years
supervised relase,       $5 special assessment, per count.           See (PSR at p.19, 1172).

                                               -6-
    Case 1:96-cr-00227-CMH Document 127 Filed 05/30/08 Page 7 of 12 PageID# 7


category level was unexplainably, by the district court,                changed-from II      to


VI.   Boe,   id.   at 833.   The Fourth Circuit Court held that         if the district court


was "unable or unwilling on remand to justify use of criminal history category

of VI," it must release Boe because he had served the minimum mandatory for

which he was entitled due to the retroactive Sentencing Commission's amendment.


See 1995 amendment to U.S.S.G.          § 2D1.1   ("Amendment 516");      see also    21 U.S.C.

§§ 841(a)(1) and 841(b)(1)(B)(vii).-

       Based on the Fifth Circuit Court's opinion in Boe and the United States

Supreme Court's decisions in Kimbrough and Gall, this Honorable Court now

has the authority, nunc pro tune,          to further reduce Mr. Hanieph's guidelines

sentence at the highest minimum mandatory pursuant to the statutory


conviction—twenty years           to life—or the career criminal offense level—thirty-


four with a Criminal History Category Level VI.



                                       CONCLUSION


       In sum, Mr.     Hanieph respectfully prays that         this Honorable Court will


grant the submitted Motion in its          enterity in accordance with the           legal


authority cited       therein.




                                                Respectfully Submitted,




cc.                                             KURT SHAWN/HANIEPH,      Pro Se
Filed:May 21,       2008                        Reg. No.    42060-083
                                                FCI McKean
U.S. District Attorney's Office                 Post Office Box 8000
Eastern District of Virginia                    Bradford,    Pennsylvania   16701

WILLIAM N.     HAMMERSTROM,      Jr.
2100 Jamieson Ave
Alexandria, Virginia 22314


8     Boe was charged and pleaded guilty to manufacturing marijuana within 1,000
feet of a school, in violation of 21 U.S.C. § 841(a)(1) and 21 U.S.C. § 860.
He was sentenced pursuant to 21 U.S.C. 1 841(b)(1)(B)(vii) and U.S.S.G. 2D1.1.
Mr. Hanieph was under § 841(a)(1) and sentenced pursuant to U.S.S.G. S 2D1.1.


                                          -7-
Case 1:96-cr-00227-CMH Document 127 Filed 05/30/08 Page 8 of 12 PageID# 8


                                   CERTIFICATE OF    SERVICE




       I,   KURT SHAWN HANIEPH,     hereby declare under penalty of           perjury and say


that he has deposited a       true and accurate      copy of      the Motion 3582(c)(2),    in


the    institutional mail box at      FCI HcKean,    to    the   United   States District


Attorney's Office for       the   Eastern District of Virginia.           This Motion was posted


via U.S. Postal Service on May^th,           2008,    to the following address:


WILLIAM N.     HAMHERSTROM,   Jr.

U.S.   District Attorney's Office
Eastern District     of   Virginia

2100    Jamieson Avenue

Alexandria,     Virginia   22314




                                                Respectfully         Submitted,




                                                    Him
                                                    Kurt    Shawn Hanieph
cc.


Filed: May Zl_th, 2008

K/S/H
*****
       Case 1:96-cr-00227-CMH Document 127 Filed 05/30/08 Page 9 of 12 PageID# 9
                               Worksheet A (Offense Level)

                                                                            District/Office        E.VA/Alexandria
                            Kurt   Shawn


 ocket Number (Year-Sequence-Defendant No.)            96-00227-A(ooi)             .

Count Number(s)                1. 4. 5           U.S. Code Title & Section       7.1:841 (a) (1)
                                                                                 21:846

Guidelines Manual Edition Used: 19 95

Instructions:

      For each count of conviction (or stipulated offense), complete a separate Worksheet A Exception: Use only a single
      Worksheet A where the offense level for a group of closely related counts is based pnmar.ly on aggregate value or quan.ty
      SbDI 2(dT) or where a count of conspiracy, solicitation, or attempt is grouped with a substant.ve count that was the
      sole object of the conspiracy, solicitation, or attempt (see §3D1.2(a) and (b)).


                                             and any specific offense characteristics from Chapter Two and explain the bases foi
      these determinations. Enter the sum in the box provided.
                                                                                                                   Level
      Guideline             Description

                                                                                                                     34        (base)
      2D1.1(a)(3)(C)(3)       Conspiracy to Distribute Cocaine Base
                              (150 Grams to 500 Grams)




                                                       e:   289.926    grams.




                                                                                                           Sum            34


                                                                                    /a
 2. Victim-Related Adjustments (See Chapter Three, Part A)
                                                       ! than one section is applicable, list each section
       and enter"the'oombined adjustment. If no adjustment is applicable, enter "0."
  3    Role in the Offense Adjustment (See Chapter Three, Part B)                   § ™* •*.<»)
       En er the applicable section and adjustment. If more than one section is applicable, l.st each sect on
       and enter the combined adjustment. If the adjustment reduces the offense level, enter a m.nus (-) s.gn
       in front of the adjustment. If no adjustment is applicable, enter "0."


       ££SarS^X£                                                .nan one secuon ,s                  eacH sec,iOn

        and enter the combined adjustment. If no adjustment is applicable, enter 0.


        EntrThl° mTS !-4. If this worksheet does not cover a., counts of conviction or stipulated
        offenses! complete Worksheet B. Otherwise, enter this result on Worksheet D, Item 1.


         I      1   chec* if the defendant is convicted of a single count. In such case. tforJcsheet B need not be complete,

         I      1   xf the defendant has no criminal history, enter criminal history -X- here and on xt- 4, Worksheet
         |      |   £ Such case, Worksheet C need not be completed.


                                                                                                                               Rev. 10,
            Case 1:96-cr-00227-CMH Document 127 Filed 05/30/08 Page 10 of 12 PageID# 10


                                                           Worksheet C                                                       Page 2

                                                                                           Docket Number       96-00227-A(001)
    efendant      hanbiph.               Shawn



4        2 Points if the defendant committed the instant offense while under any cnm.na ji
      ^~~"on parole, supervised release, imprisonment, work release, escape status). (See. §§4A1.1(d) and 4A1.2.)
                 -type of control and identify the sentence from which control resulted. Otherwise, enter OPpjnts.

                                                  ftt94CR3051)     until 11/21/97.
         On probatic



5        2 Poi
                     if the defendant committed the instant offense less than 2 YEARS after release from imprisonment on a
                      rnunted under §4A1 1 (a) or (b) or while'in imprisonment or escape status on such a sentence.
         HoweverXonl1wE or this item if 2 points were added at Item 4 under §4A1 1(d). <§ee SS4A! .He,
         ancKMJ ) V*the dale~o7 release and identify the sentence from which release resulted. Otherw.se, enter
         0 Points.

                                                                 Ycvrk   («6N109003)
         Released


          1 Point for each prior sentence resulting from a conviction of a crime of violence that did not receive any
6
         Sfunder§4AU II tt», or (c) because such sentence was considered related to another sentence result.ng
          Z ZJvictioJof a crime of violence, p^id* that this item does not aPP^ where the.sentences are
          considered related because the offenses occurred on the same occas.on. (See §§4A1.1(f) and 4A1.2.) dent.ty
          tt^e crtes oTvtlence and briefly explain why the cases are considered related. Otherw.se, enter OJWs.
          NOTE: A maximum of 3 Points may be imposed for Item 6.




    7.     Total Criminal History Points (Sum of Items 1-6)                                                                      12




     8. Criminal History Category (Enter here and on Worksheet D, Item 4)



                                                                                   Criminal History Category

                                                                                                 I
                                                                                                II
                                                                                              III
                                                                                                IV
                                                                                                 V
                                                                                                VI
                Case 1:96-cr-00227-CMH Document 127 Filed 05/30/08 Page 11 of 12 PageID# 11

                                                                                                                              Page 3
                                                         Worksheet D

                                                                                          Docket Number   «g-nMT7-A<001)




"■                                                                              ttr"N/A-"
     El
                                                                                                                         Maximum
                                                                                            Minimum
15. Fines

     a.       Fines for Individual Defendants (Sje §5E1.2)
                                                                                                            ft-ifi.QOO.noo-00
              m if anv of the counts of convictions has a statutory maximum
              0)     enalty that excels $250,000 list the aggregate statutory
                    maximum penalties for those counts

                                                                                   <:   ?q, 000.00.
                                                                                                            ft.     250,000-0°
              (2)   Fine Table:
                                                                                                            ftifi. 000,000.00
                                                                                   ft   05,000.00
               (3) Guideline Range for Fines:



      b.                                                                                                          «!i ( ib7   08
                                                                  Cost of community confinement
               <See§5E1.2(i»



                                                                   for a"counte of conviction:
          .     $25 for each misdemeanor count of conviction                                                        ft   150.00

          •     $50 for each felony count of convict.on




          additional sheets as required




              Completed by

                                                                                                                                   Rev. 10/94
      Case 1:96-cr-00227-CMH Document 127 Filed 05/30/08 Page 12 of 12 PageID# 12

                         Worksheet D (Guideline Worksheet)

             HANEIPH,       Kurt Shawn                                                    Docket Number     96-00227-A(001)



     Adjusted Offense Level (From Worksheet A or B)
     If worksheet B is required, enter the result from Worksheet B, Item 9. Otherwise, enter               38
     the result from Worksheet A, Item 5.

2.   Acceptance of Responsibility (See Chapter Three, Part E)
     Enter the applicable reduction.                                                                  -     0



3.   Offense Level Total (Item 1 less Item 2)
                                                                                                           38



4.   Criminal History Category (From Worksheet C)
     Enter the result from Worksheet C, Item 8.


5.   Career Offender/Criminal Livelihood/Armed Career Criminal (See Chapter Four, Part
     B)


     a.   Orfense Level Total
                                                                                                           38
          If the provision for Career Offender (§4B1.1), Criminal Livelihood (§4B1.3), or
          Armed Career Criminal (§4B1.3), or Armed Career Criminal (J4B1.4) results in an
          offense level total higher than Item 3, enter the offense level total. Otherwise,
          enter "N/A."

     b.   Criminal History Category

          If the provision for Career Offender (§4B1.1) or Armed Career Criminal (§4B1.4)                  VI
          results in a criminal history category higher than Item 4, enter the applicable
          criminal history category. Otherwise, enter "N/A."

6.   Guideline Range from Sentencing Table
     r.uer the applicable guideline range from Chapter Five, Part A.                                  360-life          Months

7.   Restricted Guideline Range (See Chapter Five, Part G)
     If the statutorily authorized maximum sentence or the statutorily required minimum                    n/a          Months
     sentence restricts the range (Item 6) (see §§5G1.1 and 5G1.2), enter either the
     restricted guideline range or any statutory maximum or minimum penalty that would
     modify the guideline range. Otherwise, enter "N/A."

                Check here if §5C1.2 (Limitation on Applicability of Statutory Minimum Penalties in Certain Cases) applies.

8.   Undischarged Term of Imprisonment (See §5G1.3)

                 If the defendant is subject to an undischarged term of imprisonment, check this box and lists the undischarged terms(s)
                 below.




                                                                                                                                Rev. 1
